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Ryan Beckett

From:                                     Ryan Beckett
Sent:                                     Wednesday, October 4, 2023 1:34 PM
To:                                       ’Joshua Tom’
Cc:                                       Tommie Cardin; Parker Berry
Subject:                                  Subpoena to Charles Taylor [IWOV-BUTLERSNOW.FID7560002]



Josh,

We served a Subpoena on Charles Taylor on August 11, 2023 with a return date of August 21, 2023. Mr. Taylor has
failed to respond in any way. Mr. Taylor is listed on the NAACP's privilege log. Do you or any other counsel for the
Plaintiffs represent Mr. Taylor in connection with the Subpoena served on him?

You previously confirmed that you were not representing Senator Simmons or Representative Johnson. Unless you tell
me otherwise, I am going to operate on that previous representation. Thank you.

P. Ryan Beckett
Butler Snow LLP

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